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                        IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    NO. 4:14CR00188 JLH

FREDDIE EUGENE BREWSTER,
THOMAS STACY CAFFREY,
RICHARD BEASON, DARRELL GREEN,
CLARENCE ALLEN, WILLIE JOSEPH TYLER, JR.,
RACHEL LEWIS, LADEITRICK HAMPTON,
ASHLEY RAMAGE, LINDA BREWSTER,
CLINTON BREWER, JENNIFER MAY,
CHRISTIAN WHITE, TAQUILA SHOTO,
CHRISTINA AKINS BREWSTER,
ANTONIO LADELL BROWN,
TRAMARCUS TRAMOND MORGAN,
TRISTAN A. HIBBLER, FELISHA A. BLOCKER,
and ANTHONY RAYMON PAIGE                                                             DEFENDANTS

                                              ORDER

       Defendant Anthony Raymon Paige has filed a motion to continue the May 31, 2016 trial date

in this matter. Document #608. The Court has determined that due to the number of defendants and

attorneys involved in this case the most efficient manner of which to handle the motion to continue

will be to establish a deadline for any defendant opposing the motion to file a response in opposition.

       IT IS THEREFORE ORDERED that any defendant opposing the motion to continue must

file a response in opposition on or before MAY 23, 2016. It will not be necessary for any defendant

who supports the motion to continue to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before May 23, 2016, joins in the motion to continue and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 10th day of May, 2016.

                                                       ___________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
